         Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 1 of 6



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA       *
                                *
     v.                         *    CASE NO. 19-1151-CBD
                                *
 RONDELL HENRY,                 *
                                *
          Defendant             *
                                *
                            ********
               MOTION FOR DETENTION PENDING TRIAL



       “I was just going to keep driving and driving and driving. I wasn’t going to stop.”

                                  —Rondell Henry, April 3, 2019



       The defendant, inspired by the ISIS terrorist organization and prepared to die for his cause,

stole a vehicle with the intent of “plowing it through a crowd full of people” at the National Harbor.

He must be detained pending trial.

                                           Introduction

       On April 3, 2019, the defendant was arrested pursuant to a federal criminal complaint,

which charged him with violating 18 U.S.C. § 2312 (interstate transportation of stolen vehicle).

What matters for purposes of the upcoming detention hearing is the reason why the defendant stole

the vehicle: to use it to commit mass murder, in the pattern established by ISIS.

       The Court held an initial appearance for the defendant on April 4, 2019. The Government

moved for detention under 18 U.S.C. § 3142(f)(2), citing the defendant’s serious risk of flight and

potential for obstruction. The Court set a detention hearing for 12:45 p.m. on April 9, 2019. To

aid the Court’s determination that the defendant must be detained, the Government files this
         Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 2 of 6



memorandum in order to show that no condition or combination of conditions will reasonably

assure either the defendant’s appearance at future proceedings or the safety of the community.

                                      Background on ISIS

       On or about October 15, 2004, the United States Secretary of State designated Jama’at al-

Tawhid wa’al-Jihad (popularly known as “al-Qaeda in Iraq” (“AQI”)), as a Foreign Terrorist

Organization (“FTO”) under Section 219 of the Immigration and Nationality Act and as a Specially

Designated Global Terrorist entity under section 1(b) of Executive Order 13224. On or about May

15, 2014, the Secretary of State amended the designation of AQI as an FTO under Section 219 of

the Immigration and Nationality Act and as a Specially Designated Global Terrorist entity under

section 1(b) of Executive Order 13224 to add the alias Islamic State of Iraq and the Levant (“ISIL”)

as its primary name. The Secretary of State also added the following aliases to the FTO listing:

The Islamic State of Iraq and al-Sham (“ISIS” – which is how the FTO will be referenced herein),

The Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-‘Iraq wa-sh-Sham, Daesh, Dawla

al Islamiya, and Al-Furqan Establishment for Media Production. On September 21, 2015, the

Secretary added the following aliases to the FTO listing: Islamic State, ISIL, and ISIS. To date,

ISIS remains a designated FTO.

       ISIS has publicly claimed responsibility for several terrorist attacks, including the July 14,

2016, attack in Nice, France, in which a terrorist drove a cargo truck into a large crowd on the

Promenade des Anglais, killing 86 people and injuring hundreds more.

                               The Defendant Must Be Detained
                       As a Flight Risk and a Danger to the Community

       Through investigation, law enforcement officers have learned the following information,

much of it from the defendant himself. For two years, the defendant has harbored “hatred” (in his

words) for “disbelievers” who do not practice the Muslim faith. Seeking out and watching videos

                                               -2-
            Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 3 of 6



of foreign terrorists beheading civilians and fighting overseas, the defendant considered these

gruesome actions brave and he wanted to emulate them. The defendant, though, did not have any

weapons training. He was a computer engineer by trade, and knew nothing of explosives or

firearms. But he knew how to drive, and he also knew of the terrorist truck attack in Nice, France.

So the defendant decided to use what was readily at his disposal and conduct a vehicular attack on

a crowd of innocents.

        On Tuesday, March 26, 2019, the defendant walked off his job in Germantown, Maryland,

in the middle of the day, determined to walk down the extremist path. Recognizing that his older

four-door sedan would not cause the catastrophic damage that he desired, the defendant drove

around the Washington, D.C., metropolitan area looking for a larger vehicle to steal. While

seeking out a larger vehicle, the defendant—now fully committed to his mission—discarded his

cell phone on an interstate highway, in an attempt to destroy evidence of the inspiration behind his

attack. 1

        In Virginia, the defendant saw a U-Haul van of an appropriate size—larger, heavier, and

more durable than his own car—and tracked it to its storage location. The defendant would have

preferred a larger vehicle, but his impatience to act spurred him to opt for the good rather than wait

for the perfect.




1
 Law enforcement agents recovered the defendant’s phone and on it found images of gun-wielding
ISIS fighters, the ISIS flag, and the Pulse nightclub shooter.
                                                -3-
         Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 4 of 6




       After stealing the U-Haul van, the defendant continued driving around the metropolitan

Washington, D.C. area, assessing target locations he already had decided would attract substantial

media coverage. At approximately 5:00 a.m. on Wednesday, March 27, 2019, the defendant

arrived at Dulles International Airport in Virginia. At that early hour, the airport lacked the large


                                                -4-
         Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 5 of 6



number of unloading pedestrians the defendant hoped to find. So, reconsidering his options, the

defendant exited his U-Haul and entered the terminal, trying to find a way through security to harm

“disbelievers” in a way designed for maximum publicity. The defendant first tried to access a

restricted area by piggy-backing behind a cleared individual. The defendant next studied the

security checkpoint, looking for any weak spot through which he could slip. Finally, the defendant

attempted to obtain paperwork from a check-in kiosk. After more than two hours of failing to

breach Dulles’s security perimeter, the defendant returned to the U-Haul and his original plan of

driving through a crowd.

       The defendant then drove the U-Haul from Virginia to the National Harbor in Maryland,

arriving around 10:00 a.m. on Wednesday, March 27, 2019. He wanted to create “panic and

chaos,” the “same as what happened in France.” He had no escape plan, intending to die while

killing others for his cause. In his own words, “I was just going to keep driving and driving and

driving. I wasn’t going to stop.” But so early in the morning on a weekday, the defendant did not

find the sizable crowd upon which he desired to inflict his radical conduct. He parked the U-Haul

and walked around until he found what he considered an ideal spot for an attack, in a popular part

of National Harbor. He even calculated how he may have to come off the road and onto the

sidewalk in order to hit people. With the crowds still too thin, however, the defendant needed a

place to hide until the time was right, so he broke into a boat and hid there overnight.

       By the following morning, Thursday, March 28, 2019, police officers had discovered the

location of the stolen U-Haul and were awaiting the return of whomever had stolen it. When the

defendant leapt over the security fence from the boat dock, observant police officers arrested him.

       Since his initial arrest by local authorities, the defendant has made several Mirandized

statements. The quotations and statements of the defendant’s planning and purpose herein come



                                                -5-
         Case 8:19-mj-01151-CBD Document 10 Filed 04/08/19 Page 6 of 6



from those incriminating statements.

                                         Conclusion

       The Government respectfully submits that the defendant must be detained pending trial.



                                           Respectfully submitted,

                                           Robert K. Hur
                                           United States Attorney

                                           /s/
                                           Thomas P. Windom
                                           Assistant United States Attorney




                                             -6-
